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                       Toshiba Exhibit K
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                                                 September 2, 2014

Via Email

Hon. Vaughn R. Walker (Ret.)
c/o Mr. Jay Weil
Federal Arbitration, Inc.
288 Hamilton Avenue, 3rd Floor
Palo Alto, California 94301
jay.weil@fedarb.com


        Re:    In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917, Master Case No.
3:07-cv-5944 SC


Dear Judge Walker:

        Plaintiffs1 move to compel the depositions of five witnesses that Toshiba recently disclosed
as having information relevant to this action. Although only 3 days remain until the closure of fact
discovery in this case, Toshiba has offered to make only one of these witnesses available for
deposition. It remains silent as to its intentions with respect to the other witnesses.

        On August 1, 2014, Toshiba served on Plaintiffs its “Amended Initial Disclosures”
purportedly pursuant to pursuant to Rules 26(a)(1) and 26(e) of the Federal Rules of Civil
Procedure. Birkhaeuser Declaration, Exhibit A. In this disclosure, Toshiba identified five witnesses
that Plaintiffs have never deposed.2 Toshiba claimed that these witnesses have information that the
Toshiba Entities “may use to support their claims or defenses.” Exhibit A 2:25-26. Those witnesses
are as follows:

         1.       Clayton Bond;
         2.       Charles Farmer;
         3.       John Milliken;

1
 This letter brief is sent on behalf of the Indirect Purchaser Plaintiffs (“IPPs”), the Direct Action Plaintiffs (“DAPs”),
and the Attorney General of the State of California (jointly, “Plaintiffs”).
2
 The disclosures also identified Michael Du. The deposition of Mr. Du is the subject of a prior Order of the Court. See
Order Adopting Report & Recommendation re Indirect Purchaser Plaintiffs' Motion To Compel Production For
Deposition Of JDI Employees Yoshino, Fukunaga & Du, Docket No. 2734.
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         4.       Tomoyuki Kawano; and
         5.       Tomohito Amano.

        Plaintiffs wrote to Toshiba immediately and asked Toshiba to make these witnesses available
for deposition. Because Toshiba served the amended disclosure just slightly more than a month
before the close of fact discovery, Plaintiffs asked Toshiba to respond without delay. Birkhaeuser
Declaration, Exhibit B.

         Toshiba did not respond. During a subsequent meet and confer telephone call, Plaintiffs
again asked Toshiba to respond as the discovery cut off was fast approaching. Toshiba informed
plaintiffs that it would respond when it was able to and would not commit to a date certain.
Birkhaeuser Declaration, paragraph 4 and Exhibit C.

         Toshiba finally “responded” on August 27, 2014. Birkhaeuser Declaration, Exhibit F.
However, Toshiba’s response confirms only a single deposition, Mr. Milliken. It does not inform
Plaintiffs which of the remaining witnesses are currently employed by a Toshiba entity. It does not
inform Plaintiffs whether any of these witnesses will assert a Fifth Amendment defense, as required
by the Order Re Discovery and Case Management, Section I.A. Dkt. No. 1128. Toshiba did offer to
waive the discovery deadline to the extent any of the witnesses are “available for deposition”. This
offer is a hollow one, however, since Toshiba won’t say whether any of the remaining witnesses will
be made available. And Toshiba offers no explanation why many of these newly added witnesses
are suddenly available after the close of discovery despite Plaintiffs’ repeated requests to depose
them over a year ago.3 The offer also fails to recognize that the discovery cut off is designed to
benefit both parties as they prepare for trial.

        Federal Rule of Civil Procedure section 26 (e) requires a party to make supplemental
disclosures “in a timely matter”. Plaintiffs thus assume that Toshiba has only recently4 learned that
these witnesses have information relevant to its claims and defenses. If so, Toshiba should have
been ready to make these witnesses available for deposition immediately. Toshiba’s delay of four
weeks to respond as to only one witness is sheer gamesmanship. Should plaintiffs be forced to
subpoena any of these individuals, they will not have time to do so.

       As Plaintiffs’ recent discovery motion against Toshiba showed, this is not the first time that
Toshiba has played “cat and mouse” with witnesses during discovery. See Order Adopting Report &
Recommendation re Indirect Purchaser Plaintiffs' Motion To Compel Production For Deposition


3 Plaintiffs asked for the deposition of Mr. Amano on December 10, 2012 and was told that Toshiba did not control

him. On March 29, 2013, Plaintiffs asked for the deposition of Mr. Kawano, spelling his name “Tomauki Kawano.”
Toshiba claimed that it had never heard of him. Plaintiffs supplied the name in Japanese characters. On July 2, 2013,
Toshiba informed Plaintiffs that it does not control him.
4 Toshiba’s initial disclosure pursuant to Rule 26 did not identify any witnesses. Instead, Toshiba claimed that the

complaint was deficient, rendering Toshiba “unable to formulate defenses at this time.” Birkhaeuser Declaration,
Exhibit G.
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Of JDI Employees Yoshino, Fukunaga & Du, Docket No. 2734 dated August 6, 2014. Toshiba’s
inaction in the face of the imminent discovery deadline does not comport with its obligation to
participate in discovery in good faith. Plaintiffs should not have to file a motion to obtain a timely
response to a request to depose witnesses whom Toshiba has identified as having information
relevant to its claims and defenses and whom it may call at trial.

        For the foregoing reasons, Plaintiffs seek an order of the Court compelling Toshiba to make
the above witnesses available for deposition in San Francisco without further delay. Plaintiffs also
seek an order extending the discovery cut off to permit Plaintiffs to prepare for and take these
depositions.



                                        Sincerely,

                                        /s/ Mario N. Alioto
                                        Mario N. Alioto
                                        Trump Alioto Trump & Prescott LLP
                                        Interim Lead Counsel for the Indirect Purchaser Plaintiffs



cc: Debra Bernstein (counsel for Direct Action Plaintiff Dell)
Lucius B. Lau (counsel for Toshiba defendants)
Emilio Varanini (State of California)
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